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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                       CASE NO. 17-22643-CIV-COOKE/GOODMAN


   FEDERAL ELECTION COMMISSION,

         Plaintiff,

   v.

   DAVID RIVERA,

         Defendant.
   __________________________________/

                      AGREED ORDER ON MOTION FOR SANCTIONS

         At the direction of the Undersigned, Plaintiff Federal Election Commission filed a

   Status Report [ECF Nos. 165; 168] regarding its Motion for Sanctions (the “Motion”) [ECF

   No. 133] and whether the parties reached a resolution of their dispute. The FEC advised

   that the parties came to an agreement regarding Defendant’s reimbursement of the costs

   that the FEC seeks as a sanction for Defendant’s discovery misconduct.

         Accordingly, Defendant David Rivera shall reimburse the FEC’s costs of $927.00,

   payable with the Final Judgment to be entered by the District Court.

         DONE AND ORDERED in Chambers, in Miami, Florida, on March 8, 2021.
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   Copies furnished to:
   The Honorable Marcia G. Cooke
   All counsel of record




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